Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 1 of 12



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                      Case No. 19-MC-80024

   PUES FAMILY TRUST IRA, BY MICHAEL PUES,
   EXECUTOR OF THE ESTATE,

          Plaintiff,

   v.

   PARNAS HOLDINGS INC., and LEV PARNAS,
   INDIVIDUALLY,

          Defendants,
                                                /

            JUDGMENT CREDITOR’S MOTION TO COMMENCE PROCEEDING
           SUPPLEMENTARY TO EXECUTION AND IMPLEAD THIRD PARTIES

          Pursuant to Section 56.29, Florida Statutes, Plaintiff/Judgment Creditor PUES FAMILY

   TRUST IRA, BY MICHAEL PUES EXECUTOR OF THE ESTATE (“Pues”), moves for the

   entry of an order commencing a proceeding supplementary to execution, along with an order

   impleading GLOBAL ENERGY PRODUCERS, LLC (“GEP”), AMERICA FIRST ACTION,

   INC. (“AFA”) the NATIONAL REPUBLICAN CONGRESSIONAL COMMITTEE (“NRCC”),

   PETE SESSIONS FOR CONGRESS (“Sessions Campaign”) in the action against judgment

   debtors PARNAS HOLDINGS, INC. (“PHI”) and LEV PARNAS (“Parnas”) seeking to gain

   property in the hands of Impleader Defendants which should be subject to execution, and as

   grounds therefore state:

          1.      On March 28, 2016 judgment creditor Pues obtained a final judgment against

   judgment debtors, PHI and Parnas, in the amount of $510,434.70, with interest to accrue at the

   statutorily prescribed rate. (hereinafter the “Judgment”). The Judgment, was entered by the
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 2 of 12
                                                                           CASE NO. 19-MC-80024
                                                                                      Page 2 of 10

   United States District Court for the Eastern District of New York Case No. 11-CV-05537 and

   registered in this Court.

          2.      While certain post-judgment collection activities have occurred, the judgment

   remains wholly uncollected and unsatisfied.

          3.      Judgment creditor caused a writ of execution to be issued and the statutory

   judgment creditor’s affidavit in connection with commencing proceedings supplementary is

   attached as an exhibit to this motion.

          4.      It should be noted that prior to registering the Judgment in this Court, Pues

   domesticated the judgment in Palm Beach County (FL) state circuit court, Case No. 50-2018-

   CA-02109-XXXX-MB. That action was commenced on or about February 19, 2018.

          5.      The post-judgment discovery process has lead Pues to several transactions which

   would be considered transfers subject to attachment under Florida law, more specifically Fla.

   Stat. § 56.29. Furthermore, post-judgment discovery has lead Pues to payments by Parnas and

   his employer GEP which may violate relevant campaign finance laws. Pursuant to Fla. Stat. §

   56.29, Pues seeks to undo these transactions because the payments made by Parnas (or Parnas’

   behalf) should have been subject to attachment pursuant to the Florida Statutes.

          6.      Fla. Stat. § 56.29(6) states in relevant part:

          The court may order any property of the judgment debtor, not exempt from execution,
          or any property, debt, or other obligation due to the judgment debtor, in the hands of or
          under the control of any person subject to the Notice to Appear, to be levied upon and
          applied toward the satisfaction of the judgment debt. The court may enter any orders,
          judgments, or writs required to carry out the purpose of this section, including those
          orders necessary or proper to subject property or property rights of any judgment
          debtor to execution, and including entry of money judgments as provided in ss. 56.16-
          56.19 against any person to whom a Notice to Appear has been directed and over
          whom the court obtained personal jurisdiction irrespective of whether such person has
          retained the property, subject to applicable principles of equity, and in accordance with
          chapters 76 and 77 and all applicable rules of civil procedure. Sections 56.16-
          56.20 apply to any order issued under this subsection. Fla. Stat. § 56.29(6)
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 3 of 12
                                                                            CASE NO. 19-MC-80024
                                                                                       Page 3 of 10




   Furthermore, Florida law holds that the statute prescribing the procedure for impleading third-

   party defendants in supplementary post-judgment proceedings “‘should be given a liberal

   construction so as to afford the judgment creditor the most complete relief possible.’”

   Wieczoreck v. H & H Builders, Inc., 450 So.2d 867, 871 (Fla. 5th DCA 1984) (quoting Richard

   v. McNair, 164 So. 836 (Fla. 1935)).     “Supplementary proceedings are a creature of statute to

   aid the judgment creditor in discovering assets of debtor which might be appropriated in

   satisfying his judgment.” Conrad v. McMechen, 338 So.2d 1306 (Fla. 4th DCA 1976). “Statutes

   relating to proceedings supplementary to execution are intended to empower the court to follow

   through with enforcement of its judgment, so that there will be no necessity for an independent

   suit to reach property which legally should be applied to satisfaction of judgment.” Florida

   Guaranteed Securities v. McCallister, 47 F.2d 762 (1931). Rule 69(a)(1), Federal Rules of Civil

   Procedure, provides that “[t]he procedure on execution – and in proceedings supplementary to

   and in aid of judgment or execution – must accord with the procedure of the state where the court

   is located . . . .” Fed. R. Civ. P. 69(a)(1). Florida law provides for proceedings supplementary:

             To initiate proceedings supplementary, section 56.29(1) requires that
             the judgment creditor have an unsatisfied judgment and file an
             affidavit averring that the judgment is valid and outstanding. When a
             judgment creditor holds an unsatisfied judgment and filed a motion
             and affidavit in compliance with section 56.29(1), the judgment
             creditor is entitled to these proceedings supplementary to execution.


   Upon a showing of the statutory prerequisites, the court has no discretion to deny the motion.

   Longo v. Associated Limousine Services, Inc., 236 So. 3d 1115, 1119 (Fla. 4th DCA 2018)

   (internal quotations and citations omitted). As of the writing of this motion, the entirety of the

   Judgment remains outstanding and unpaid, and as stated above, the statutory affidavit is attached.
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 4 of 12
                                                                                      CASE NO. 19-MC-80024
                                                                                                 Page 4 of 10

   As such, Judgment Creditor is entitled to initiate this proceeding supplementary and examine the

   Judgment Debtors as a matter of right.

   Global Energy Producers, LLC and America First Action, Inc.

             7.       GEP is a limited liability company, in which public records indicate Parnas

   serves as “Executive.” Public records indicate that GEP was incorporated on April 11, 2018.1

   On May 17, 2018, GEP gave $325,000 to AFA which describes itself as “the primary super PAC

   dedicated to electing federal candidates who support the agenda of the Trump-Pence

   administration.” The address listed on the underlying report entry was 7670 La Cornich[e]

   Circle, Boca Raton, Florida, which is the residence for Parnas and the principal place of business

   for GEP. The available facts do not suggest that GEP conducted any business or had sufficient

   income from assets, investment earnings, business revenues, or bona fide capital investments to

   make the $325,000 contribution to AFA at the time the contribution was made. The temporal

   proximity between GEP’s formation and its contribution, viewed in the context of the LLC's

   overall activities, strongly suggests that it received funds for the specific purpose of making

   these contributions. GEP was formed on April 11, 2018, then made a $325,000 contribution on

   May 17, 2018. The only logical conclusion is that Parnas and perhaps other individuals, put up

   the $325,000 and funneled it through GEP to make the contribution. A subpoena in the state

   court action was served on GEP by Pues on August 14, 2018 and that subpoena requested

   information regarding the funding of this transaction and any payments made between GEP and

   Parnas.        GEP failed to respond to the subpoena.            The State Court then issued, an order

   compelling production from GEP, and that order was also ignored. Currently a Motion for


   1
     Global Energy Producers LLC, OPENCORPORATES,
   https://opencorporates.com/companies/us_de/6840339 (last visited January 8, 2019). See also
   https://icis.corp.delaware.gov/Ecorp/EntitySearch/NameSearch.aspx.
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 5 of 12
                                                                                         CASE NO. 19-MC-80024
                                                                                                    Page 5 of 10

   Contempt is pending in the state court action. Currently there is a subpoena issued in this action

   out to GEP, and GEP has failed to produce document, and has filed a motion for protective order.

   These facts, in addition to the facts listed above, would seem to indicate GEP is hiding a possible

   fraudulent transfer from Parnas and worse is a vehicle for a campaign finance violation pursuant

   to Federal Election Campaign Finance Act 52 U.S.C. § 301222.                           Furthermore, GEP as a

   company which Parnas serves as “executive” likely either pays a salary to Parnas or has property

   of Parnas which is subject to execution (such as a large sum of money of Parnas’ paid to an

   American political action committee to bypass laws regarding individual campaign donations. It

   should be noted that the link between GEP and Parnas is well publicized and openly notorious.

   In earlier pleadings filed by Pues (See D.E. 12 and D.E. 13), several well publicized articles

   outlining this troubling relationship with GEP and the allegations of campaign finance fraud are

   thoroughly explained (and incorporated herein). Based on the open defiance by GEP and Parnas

   to state court orders, Plaintiff feels this federal court in a proceeding supplementary is best suited

   to make Pues, as judgment creditor, whole. As such, this Court is well within its powers to

   implead GEP under Fla. Stat. 56.29 and have any property or information in its possession

   surrendered.

   National Republican Congressional Committee

            8.       According to the Complaint filed by Campaign Legal cited above and records of

   the FEC and NRCC, Lev Parnas contributed $500 to the NRCC during the 2018 election cycle.

   As Plaintiff’s judgment lien was duly entered and perfected according to Florida State law, this is

   money which ought to have been paid over to Pues in satisfaction of the Judgment and qualifies

   2
     It should be noted that the Campaign Legal Center has filed a complaint with the Federal Election Commission
   alleging violations of FECA. See https://campaignlegal.org/document/straw-donor-complaint-fec-global-energy-
   producers-llc (last visited January 8, 2019). It should also be noted that several of the allegations made in this
   Motion come from information obtained by the Campaign Legal Center and the records of the Federal Election
   Commission.
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 6 of 12
                                                                           CASE NO. 19-MC-80024
                                                                                      Page 6 of 10

   as a fraudulent transfer under Florida law. As such, this Court should implead the NRCC for the

   turnover of this contribution.

   Sessions Campaign

             9.     According to the Complaint filed by Campaign Legal cited above and records of

   FEC, Lev Parnas contributed $2700 to the Sessions Campaign. Pete Sessions is a former

   congressman from Dallas Texas who lost his re-election bid on November 6, 2018.                As

   Plaintiff’s judgment lien was duly entered and perfected according to Florida State law, this is

   money which ought to have been paid over to Pues in satisfaction of the Judgment. As such, this

   Court should implead the Sessions campaign for the turnover of this Contribution.

             10.    It should be noted that the United States Court of Appeals for the Fifth Circuit

   held in Janvy v. Democratic Senatorial Campaign Committee Inc., et. al. 712 F.3d 185 (N.D.

   Tex 2013) that contributions to a political action committee made to defraud creditors was a

   fraudulent transfer. In Janvy, the Court upheld a decision denying summary judgment on behalf

   of the political action committee because it did not give reasonably equivalent value for the

   contributions (which were fraudulent transfers from Ponzi schemers). The Texas Fraudulent

   transfer law is nearly identical to that of Florida, which adopts the Uniform Fraudulent Transfers

   Act. As such, GEP, AFA, Sessions Campaign and NRCC should all be impleaded under this

   action.

             Fraudulent Transfer Law in Florida

                    11.    The above referenced transactions constitute fraudulent transfers under

   Florida law. Fla. Stat. 726.105 and 726.106 governs fraudulent conveyances and states in

   relevant part:
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 7 of 12
                                                                             CASE NO. 19-MC-80024
                                                                                        Page 7 of 10

          (1) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor,

   whether the creditor’s claim arose before or after the transfer was made or the obligation was

   incurred, if the debtor made the transfer or incurred the obligation:

          (a) With actual intent to hinder, delay, or defraud any creditor of the debtor; or

          (b) Without receiving a reasonably equivalent value in exchange for the transfer or

          obligation, and the debtor:

                  1. Was engaged or was about to engage in a business or a transaction for which

                  the remaining assets of the debtor were unreasonably small in relation to the

                  business or transaction; or

                  2. Intended to incur, or believed or reasonably should have believed that he or she

                  would incur, debts beyond his or her ability to pay as they became due.

          (2) In determining actual intent under paragraph (1)(a), consideration may be given,

          among other factors, to whether:

                  (a) The transfer or obligation was to an insider.

                  (b) The debtor retained possession or control of the property transferred after the

                  transfer.

                  (c) The transfer or obligation was disclosed or concealed.

                  (d) Before the transfer was made or obligation was incurred, the debtor had been

                  sued or threatened with suit.

                  (e) The transfer was of substantially all the debtor’s assets.

                  (f) The debtor absconded.

                  (g) The debtor removed or concealed assets.
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 8 of 12
                                                                           CASE NO. 19-MC-80024
                                                                                      Page 8 of 10

                  (h) The value of the consideration received by the debtor was reasonably

                  equivalent to the value of the asset transferred or the amount of the obligation

                  incurred.

                  (i) The debtor was insolvent or became insolvent shortly after the transfer was

                  made or the obligation was incurred.

                  (j) The transfer occurred shortly before or shortly after a substantial debt was

                  incurred.

                  (k) The debtor transferred the essential assets of the business to a lienor who

                  transferred the assets to an insider of the debtor.

   While it is fairly clear that Parnas made the contributions listed above with the intent to

   contribute money to political causes he supports past the allowable campaign limit through the

   sham company GEP, he deliberately intended to defraud creditors such as Pues. He should have

   paid these monies directly to Pues in satisfaction of the substantial judgment rendered. That

   being said, even if actual intent is not determined by this Court. A case for constructive intent

   can be made based on the factors indicated in the statute. It is clear that Parnas was insolvent at

   the time of the transfer, or made insolvent shortly thereafter as a result of the transfer as

   contemplated by Fla. Stat. 726(a)(2)(i). Fla. Stat. 726.103, defines “insolvency” for the purposes

   of fraudulent transfer and states in relevant part:

          (1) A debtor is insolvent if the sum of the debtor's debts is greater than all of the
          debtor's assets at a fair valuation.
          (2) A debtor who is generally not paying his or her debts as they become due is
          presumed to be insolvent.

   The fact Parnas owes over $510,000 to Pues and has not paid it would be prima facie evidence of

   insolvency. Furthermore Parnas has had eviction proceedings against him and has failed to pay

   his debt to pues and other well documented debts as they have become due. By virtue of making
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 9 of 12
                                                                            CASE NO. 19-MC-80024
                                                                                       Page 9 of 10

   the contributions listed above during his insolvency he has made fraudulent conveyances

   pursuant to Fla. Stat. 726(a)(2)(i).

          12.     In addition to unwinding the above-referenced fraudulent transfers cited above, it

   is also imperative that Parnas be brought to court and testify as to his assets and the transactions

   listed above under oath. Fla. Stat. 56.30 makes it compulsory that the Judgment Debtor appears

   at a time and place specified by Court for his examination. In the state court action in which a

   subpoena for Parnas’ deposition in aid was served in July 2018, he has refused to provided

   documents or appear for deposition. Fla. Stat. 56.30 states “Testimony [of the debtor] shall be

   under oath, shall be comprehensive, and cover all matters and things pertaining to the business

   and financial interests of the judgment debtor which may tend to show what property the

   judgment debtor has and its location. Any testimony tending directly or indirectly to aid in

   satisfying the execution is admissible.”

          13.     Judgment creditor has incurred and is obligated to pay undersigned counsel a

   reasonable attorney’s fee for which the judgment debtor is liable in accordance with sections

   56.29(8).

          WHEREFORE, judgment creditor, Pues respectfully requests that the court:

          a.      Implead Impleader Defendants GEP, AFA, NRCC, and Sessions Campaign to a

                  proceeding supplementary to execution;

          b.      Direct the Impleader Defendant Parnas to appear before the court and be

                  examined concerning the alleged transaction and as to his assets under oath as

                  contemplated by Fla. Stat. 56.30

          c.      Afford the judgment creditor such other and further relief as the court deems just

                  and proper.
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 10 of 12
                                                                             CASE NO. 19-MC-80024
                                                                                       Page 10 of 10

    Dated: April 15, 2019                                ANDRE LAW FIRM P.A.
                                                         Counsel for judgment creditor
                                                         18851 N.E. 29th Ave Suite 724
                                                         Aventura, FL 33180
                                                         Tel. 786 708 0813
                                                         Fax. 786 513 8408
                                                         Designated email: andre@andrelaw.com

                                                         By:            /s/ Tony Andre
                                                                 Tony Andre, Esq.
                                                                 Florida Bar No. 40587

                                    CERTIFICATE OF SERVICE

            I certify that on April 15, 2019 I filed the foregoing document with the Clerk of the Court
    using CM/ECF. I also certify that the foregoing document is being served this day on all counsel
    of record or pro se parties as identified below in the manner delineated, either via transmission of
    a Notice of Electronic Filing generated by CM/ECF or in some other authorized manner for
    those counsel or parties who are not authorized to receive the Notice of Electronic Filing
    electronically.

           Chris Draper, Esq.
           Greenspoon Marder
           525 Okeechobee boulevard Suite 900
           West Palm Beach FL 33401
            Attorneys for Judgment Debtors/Global Energy Producers, LLC


                                                         /s/ Tony Andre
                                                  Tony Andre, Esq.
  Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 11 of 12
Exhibit




                      Jersey
                  Middlesex
Case 9:19-mc-80024-DMM Document 18 Entered on FLSD Docket 04/15/2019 Page 12 of 12
